* Case 1:19-mj-00925 Document 1 Filed on 09/19/19 in TXSD_ Page 1 of 2

AO 91 (Rev. 5/95) Criminal Complaint
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FILED

UNITED STATES DISTRICT COUR 19 2019

SOUTHERN DISTRICT OF TEXAS _ |
BROWNSVILLE DIVISION Oavid J. Bradley, Clerk of Court

 

 

UNITED STATES OF AMERICA

vs CRIMINAL COMPLAINT
RUIZ-Santiz, Pedro CASE NUMBER: B:19- G25 MJ

A201 285 191

I, the undersigned being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about September 17, 2019 in Cameron County, in the
SOUTHERN District of TEXAS, defendant,

 

knowingly, willfully, and in violation of law encouraged or induced one
undocumented minor alien to come to, enter, or reside in the United States,
knowing or in reckless disregard of the fact that such alien has not received
prior authorization to come to, enter, or reside in the United States

in violation of Title 8 United States Code, Section(s) 1324 (a) (1) (A) (iv) and

 

in violation of Title 18 United States Code, Section(s) 1001

 

I further state that I ama (n) U.S. Customs and Border Protection Officer and that
this complaint is based on the following facts:

 

See Attachment.

Continued on the attached sheet and made a part hereof: X :Yes :No

rc
Signature of Complainant
Armando Espinoza Jr.

Sworn to before me and subscribed in my presence,

September 19, 2019 at BROWNSVILLE, Texas

Date City and State

Ronald G. Morgan _U.S.MAGISTRATE JUDGE hall Moa

Name & Title of Judicial Officer Signature of we ficer

 
° Case 1:19-mj-00925 Document 1 Filed on 09/19/19 in TXSD_ Page 2 of 2

ATTACHMENT SHEET (Criminal Complaint)

UNITED STATES OF AMERICA

vs CRIMINAL COMPLAINT
RUIZ-Santiz, Pedro CASE NUMBER: B:19 - G25 MJ

A201 285 191

I, Armando Espinoza U.S. Customs and Border Protection Officer, swear that
the following is true and correct to the best of my knowledge and belief:

On September 17, 2019 the defendant, identified as Pedro RUIZ-Santiz,
attempted to enter the United States from Mexico through the pedestrian
primary lanes at the Brownsville and Matamoros International Bridge in
Brownsville, Texas accompanied by a juvenile. SANTIZ claimed to be
traveling with his juvenile son. SANTIZ presented a Mexican birth
certificate for himself and a Mexican birth certificate bearing the name of
Pedro Alfredo Ruiz Diaz on behalf of the juvenile to a U.S. Customs and
Border Protection Officer. When asked for the purpose of his attempted entry
SANTIZ requested asylum. SANTIZ and the juvenile were referred to Passport
Control Secondary for further inspection.

After further inspection, Customs and Border Protection Officers determined
that SANTIZ is not the juvenile’s father and the document he presented on
behalf of the juvenile is fraudulent. The juvenile was identified as F.J.D.
and was determined to be a citizen and national of Mexico with no legal
status to come to, enter, or to be in the United States.

Prior to being interviewed, SANTIZ was read his Miranda Rights and chose to
waive them. SANTIZ stated that in fact he is not the father of the child and
was transporting the child in order to successfully gain entry into the
United States. SANTIZ admitted that he previously obtained the juvenile’s
fraudulent document to show him as the father. SANTIZ stated that he
intended on transporting the child from Mexico to North Carolina. SANTIZ
stated he knew the child had no legal status to come to, enter, or to be in
the United States and intended on using the fraudulent document to
facilitate his and the juvenile’s unlawful entry intg the United States.

J)

Signature of Janta oe
Armando nop inoza Jr.
Sworn to before me and subscribed in my presence,

 

 

 

 

September 19, 2019 at BROWNSVILLE, Texas

Date City and State

Ronald G. Morgan U.S.MAGISTRATE JUDGE OLE jy cxf —_—
Name & Title of Judicial Officer Sigriature of SudiciaY Officer

(Attachment to AO 91 Criminal Complaint)
